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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
   UNITED STATES OF AMERICA,                                         CASE NUMBER

                                                        PLAINTIFF,
                                     V.


                                                                               ORDER FOR CONTRIBUTION
                                                                               TOWARDS ATTORNEY'S FEES
                                                                                   18 U.S.C. 4 3006A(fl
                                                    DEFENDANT(S).

    On           ~~~ , ~Z                      defendant     ~~ '~ ~,~ ~ ~~/Y~      ~[' ~-~~'P~
           submitted a financial affidavit in support of defendant's request for appointment of counsel without payment of
           fees. After review of the affidavit, the court finds that the defendant has the present ability to make a contribution
           towards his/her attorney's fees.
    ❑ did not submit a financial affidavit, but appeared without counsel.

    Subject to this order ofcontribution, the Court hereby appoints ~~~-~                       C;~~~~J~ ~~~"~
as couns for the defendant           ~~~~~,,~,;;;~ ~.p ~_ ~~_
    ~ntil further notice.                    ~ ~5~,-;~- ~w-~.
    ❑ for these proceedings only. ~"~

    The defendant is ordered to pay towards attorney's fees in accordance with the schedule of payments set forth below:
    ❑ A total sum of$
       ❑ due not later than
           ❑ due in monthly payments of$                                   beginning

     ❑ Monthly payments of$                                            to commence on
       and to continue until Tina         isposition o t is case.

     ❑ Other

        All cashier's checks and/or money orders must be made payable to: CLERK,U.S. DISTRICT COURT and mailed
to: United States District Court, Central District of California, 255 East Temple Street, Suite TS-134, Los Angeles,
California 90012, Attn: Fiscal Section. Your name and case number must be included on the cashier's check or money
order.
        This order is subject to reconsideration by the Court. The defendant is advised that he/she maybe required, based
upon his/her then present ability, to contribute a greater or lesser amoun~f~o}~y~ attorn~es upon
reconsideration by the Court.                                            ~~ ~~

                ~ 2"1 "~21
     Dated                                                                                       / Magistrate Judge

cc: Clerk's Office, Fiscal Section
     cJA
     FPD
     PSA


CR-26 (05/18)                             ORDER FOR CONTRIBUTION TOWARDS ATTORNEY'S FEES
